          Case 1:15-cv-00255-RP Document 17 Filed 12/18/15 Page 1 of 1



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION


WILLIAM C. RODEN, M.D.,                          §
                                                 §
               Plaintiff,                        §
                                                 §
V.                                               §            1-15-CV-255 RP
                                                 §
THE PAUL REVERE LIFE INSURANCE                   §
COMPANY,                                         §
                                                 §
               Defendant.                        §

                                              ORDER

       Before the Court is the above-referenced cause. The parties have now informed the Court

that they have reached a settlement of this matter. In light of the parties’ settlement in this case,

       IT IS ORDERED that the parties shall file a motion to dismiss or stipulation of dismissal on

or before January 19, 2016.        Failure to comply with the Court’s Order will result in the

reinstatement of the case.

       IT IS FINALLY ORDERED that any pending motions, settings and deadlines in this case

are abated pending further order from this Court.

       SIGNED on December 18, 2015.




                                             ROBERT L. PITMAN
                                             UNITED STATES DISTRICT JUDGE
